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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

REBECA RODRIGUEZ,

            Plaintiff,

v.                                            Case No.

USAA FEDERAL SAVINGS BANK,
a foreign company,

                 Defendant.
___________________________________/

             COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, REBECA RODRIGUEZ (“Plaintiff”), hereby sues Defendant,

USAA FEDERAL SAVINGS BANK, a foreign company (“Defendant” or “USAA”),

and alleges as follows:

                          JURISDICTION AND VENUE

      1.    This is an action for damages for violations of the Family and

Medical Leave Act of 1993 (“FMLA”).

      2.    Subject matter jurisdiction over this action is based upon existence

of a federal question based on FMLA claims which arise under federal law. The

federal statute conferring original subject matter jurisdiction over this action is

29 U.S.C. § 1331.

      3.    Defendant is subject to general and specific personal jurisdiction in


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this Court under Section 48.193, Florida Statutes. Plaintiff’s causes of action

arose from Defendant’s employment of Plaintiff in the State of Florida.

       4.    Plaintiff has satisfied all conditions precedent to maintain this

action.

                                   PARTIES

       5.    Plaintiff was a resident of Hillsborough County, Florida at all times

material hereto and reported to Defendant’s business office in Hillsborough

County.

       6.    At all times material Plaintiff was a covered “employee” within the

meaning of the FMLA and Defendant was a covered employer.

       7.    Defendant is registered and headquartered in Texas and doing

business in Hillsborough County, Florida.

                         FACTUAL BACKGROUND

       8.    Plaintiff was employed by Defendant as a Know Your Customer

(“KYC”) Compliance Analyst (“Analyst”) beginning in or around May 2022.

       9.    As an Analyst, Plaintiff’s responsibilities included analyzing anti-

money laundering (“AML”) alerts.

       10.   When Plaintiff first began working for Defendant, she and

Defendant’s other Analysts were expected to fully review at least one alert every

day.


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      11.   In or around early 2024, Defendant began expecting its Analysts to

fully review approximately three to five alerts daily.

      12.   Most, if not all, of Defendant’s Analysts in Plaintiff’s office felt

overworked trying to adhere to Defendant’s alert review expectations, often

working into the night and/or on weekends.

      13.   If all files in an alert are ready to be reviewed, an Analyst can expect

to spend anywhere between two to five hours reviewing the alert.

      14.   Between October 2024 and December 2024, no files in any alert were

ready to be reviewed at the time they were first presented to the Analysts and

the Analysts had to prepare the files themselves.

      15.   An Analyst could expect to spend approximately 30 minutes

preparing one file out of several in an alert.

      16.   At the start of every workday, Defendant’s Analysts were required

to search for any managers’ review, quality assurance, and/or quality control

updates, with each update taking anywhere between 20 minutes and two hours

depending on the complexity of the update.

      17.   Plaintiff’s team of Analysts had multiple meetings every day, lasting

anywhere between 15 minutes to over an hour.

      18.   Plaintiff suffers from debilitating migraines and anxiety.

      19.   Plaintiff received approval from Defendant to take intermittent


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FMLA leave consisting of: one day per migraine episode, two episodes per week

for incapacity, and three doctor visits per week.

      20.   When granted FMLA leave, Plaintiff would often use it to go to a

doctors appointment either in Hillsborough County or to a specialist in

Jacksonville, Florida. Appointments in Jacksonville, Florida required a full day

of leave to account for the time spent traveling between the appointment and

Plaintiff’s residence.

      21.   Defendant only approved Plaintiff’s intermittent leave during

workdays in two hour increments, meaning if she had to step away for two hours

and one minute, it was counted against her allotted leave time as four hours.

      22.   For the months of November and December 2024, Defendant refused

to allow Plaintiff to use her FMLA leave for doctors’ appointments claiming that,

as a new policy they were imposing on all employees, no one was being granted

FMLA leave.

      23.   Some Analysts in Plaintiff’s office not using FMLA leave were still

approved to take PTO during November and December 2024.

      24.   By denying Plaintiff leave while she was suffering from debilitating

migraines and anxiety, Defendant forced Plaintiff to work in an impaired

condition, which decreased her efficiency.

      25.   For the month of November 2024, Plaintiff reviewed 2.95 alerts per


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day on average. In other words, if Plaintiff worked 20 full days and completed

59 alerts, she would average approximately 2.95 alerts daily.

      26.   Defendant informed Plaintiff that if she was to fulfill its goal of a 3.3

average, that would consist of reviewing at least 66 alerts over a 20 day period.

      27.   For the month of January 2025, now that the files in each alert were

prepared for review, Plaintiff’s daily average was between 3.05 and 3.10 while

working at least 10 hours everyday.

      28.   Defendant refused to adjust its performance expectations for

Plaintiff to account for her FMLA-qualifying intermittent absences.

      29.   Defendant’s failure to adjust its expectations directly contravenes

FMLA provisions prohibiting usage of Plaintiff’s FMLA leave as a negative

factor in its decision to terminate her employment.

      30.   Defendant terminated Plaintiff’s employment on or around January

23, 2025, while she was using her FMLA leave, on the grounds that she did not

meet its statistical expectations.

      31.   Defendant denied Plaintiff a benefit to which she was entitled when

they terminated her, either in whole or in part, because of her taking FMLA-

protected leave.

                    COUNT I - FMLA INTERFERENCE

      32.   Plaintiff realleges and readopts the allegations of paragraphs 1


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through 31 as if fully set forth herein.

      33.     Defendant expected Plaintiff to complete all the duties of a full-time

employee while she was taking intermittent FMLA leave, and then fired her for

failing to meet that full-time standard.

      34.     Defendant’s decision to terminate Plaintiff because of her failure to

meet the full-time standard rendered her FMLA leave illusory.

      35.     Defendant interfered with Plaintiff’s right to leave under the FMLA.

      36.     Defendant’s actions were willful.

      37.     Plaintiff was injured by Defendant’s interference when she was

discharged.

      WHEREFORE, Plaintiff requests this Honorable Court to grant a

judgment requiring Defendant to pay to Plaintiff lost-wages, liquidated

damages, front-pay in an amount to be proved at trial, prejudgment interest

thereon, and costs and attorney’s fees under the FMLA.

                      COUNT II - FMLA RETALIATION

      38.     Plaintiff realleges and readopts the allegations of paragraphs 1

through 31 as if fully set forth herein.

      39.     Defendant is an employer under the FMLA.

      40.     Defendant retaliated against Plaintiff in violation of the FMLA by,

among other things, refusing to adjust its performance expectations in light of


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her approved intermittent FMLA leave.

     41.   Plaintiff was injured by Defendant’s actions, including discharge.

     WHEREFORE, Plaintiff requests this Honorable Court to grant a

judgment requiring Defendant to pay to Plaintiff lost-wages, liquidated

damages, and front-pay in an amount to be determined at trial, prejudgment

interest thereon, and costs and attorney’s fees under the FMLA.

                          JURY TRIAL DEMAND

     Plaintiff demands trial by jury as to all issues.


                                    Respectfully submitted,

                                    /s/ Craig L. Berman
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